          Case 2:20-cv-00406-SSS-JC                       Document 418 Filed 01/24/25                         Page 1 of 1 Page ID
                                                                #:25163
                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                           CIVIL MINUTES - TRIAL

 Case No.        2:20-cv-00406-SSS-JCx                                                                      Date      January 24, 2025
 Title:          Francesca Gregorini v. Apple, Inc., et al.

 Present: The Honorable           Sunshine Suzanne Sykes, U.S. District Judge
                        Rachel Maurice                                                                     Myra Ponce
                           Deputy Clerk                                                                Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                               Attorneys Present for Defendants:
Prteek N. Wiswanathan, Emily E. Niles,                                          Brittany B. Amadi, Nicolas A. Jampol,
Annie Huang                                                                     Cydney Swofford Freeman
                             Day Court Trial                       8th                    Day Jury Trial
                                               st
           One day trial:           Begun (1 day);               Held & Continued;          X      Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and testified.              Exhibits Identified             Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                  defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                          ✔     Jury resumes deliberations.
 ✔    Jury Verdict in favor of                            plaintiff(s)           ✔      defendant(s) is read and filed.
 ✔    Jury polled.                                        Polling waived.
 ✔    Filed Witness & Exhibit Lists                   ✔   Filed jury notes.      ✔      Filed jury instructions.
      Judgment by Court for                                                             plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                         plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is             granted.           denied.           submitted.
      Motion for mistrial by                                                     is             granted.           denied.           submitted.
      Motion for Judgment/Directed Verdict by                                    is             granted.           denied.           submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
 ✔ Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                     for further trial/further jury deliberation.
      Other:


                                                                                                                      00        :          16
                                                                                Initials of Deputy Clerk                     ram
cc:


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